INSURANCE &amp; TITLE GUARANTEE CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Insurance &amp; Title Guarantee Co. v. CommissionerDocket No. 12020.United States Board of Tax Appeals12 B.T.A. 452; 1928 BTA LEXIS 3532; June 7, 1928, Promulgated *3532  The evidence fails to show that the Commissioner erred in his determination of gain resulting from the exchange of assets for stock.  Benedict M. Holden, Esq., for the petitioner.  L. L. Hight, Esq., for the respondent.  TRAMMELL*452  This is a proceeding for the redetermination of a deficiency in income and profits tax for the calendar year 1920 in the amount of $6,376.78.  The question involved is whether the transaction whereby the petitioner received assets for stock during the taxable year resulted in taxable gain under section 202 of the Revenue Act of 1918.  FINDINGS OF FACT.  The petitioner is a Connecticut corporation organized in 1911 with its principal office in Hartford.  It was engaged in the business of investing in mortgages and notes secured by collateral and real estate and insurance business.  In 1920, for the purpose of simplifying bookkeeping and accounting, the corporation disposed of the real estate and insurance branch of its business to a new corporation organized to take over that part of the business.  The John F. Gaffey Co., Inc., was incorporated for the purpose of taking over that part of the business.  The Gaffey*3533  Company agreed to and did issue to the petitioner all of its shares of capital stock of the par value of $35,000 for the assets of the petitioner which had been used in connection with the real estate and insurance branch of its business.  The capital stock of the petitioner consisted of $70,000 par value.  The book value of the assets at the time turned over to the Gaffey Company for stock was $35,000.  This book value, however, included $19,949.20 which consisted of two write-ups on the books.  The assets of the insurance and real estate business were arbitrarily increased by $13,750 and $5,889.17, respectively.  These amounts were written up on the books on account of the increase in the business and the increase in the value of contracts acquired without consideration.  The respondent eliminated these two write-ups and determined the basis to be used in determining the taxable gain was $15,050.80.  The elimination of the two write-ups from the values of the assets carried on the books represented the depreciated cost of the assets transferred to the Gaffey Company.  After the real estate and insurance business had been transferred to the Gaffey Company, the petitioner reduced*3534  its capitalization to $35,000, distributing to its stockholders the stock which it received in *453  the Gaffey Company.  Immediately before and after the organization of the Gaffey Company, the balance sheets of the two companies were as follows: ABCASSETSCash$1,028.94$1,028.94Insurance premiums collectible19,916.2418,916.24Automobiles916.721,000.00Rents receivable275.39 D275.39Furniture and fixtures0.00226.75Good will - insurance20,000.0020,000.00Good will - real estate4,500.004,500.00Liberty bonds50.00$500.00Mortgage loans58,648.5058,648.50Due from Insurance &amp; Title Guarantee Co6,569.77Stock of J. F. Gaffey, Inc35,000.00Total assets104,785.7994,148.5052,517.09LIABILITIESNiagara fire balance$7,527.64$7,527.64Niagara Accounts balance694.12694.12Insurance brokerage payable9,123.47 E9,123.47Sundry accounts payable171.86171.86Notes payable11,000.00$11,000.00Due property owners3,000.003,000.00Capital stock premiums300.00300.00Due to Insurance &amp; Title Guarantee Co6,569.77Capital stock70,000.0070,000.0035,000.00Surplus2,698.703,278.73Total liabilities104,785.7994,148.5052,517.09*3535  A - Insurance &amp; Title Guarantee Co. before organization of J. F. Gaffey, Inc.  B - Insurance &amp; Title Guarantee Co. after organization of J. F. Gaffey, inc.  C - J. F. Gaffey, Inc., at organization.  After the organization of the Gaffey Company, John F. Gaffey, its principal stockholders, acquired 125 shares of stock for cash at par.  There were no other sales of the stock for cash in the Gaffey Company.  The stockholders in the two companies before and after the transfer of assets to the Gaffey Company and the distribution of the Gaffey Company's stock to the stockholders of the petitioner, were as follows: NameStockholders inStockholdersStockholders StockholdersIns. &amp; F. Guar.in Ins. &amp; F. in J.F. Gaffeyin Ins. F.Co. 12/31/19Guar. Co. (Inc.) afterGuar. afterafter sale to1/1/201/1/20J.F. Gaffey of125 sharesSharesSharesSharesSharesH. A. Allen141037J. F. Gaffey11223718156S. N. Dunning112893356F. J. Castonguay112893356H. B. Freeman98772849R. M. Holt28241014F. P. Holt84652342H. C. Dunning141037L. J. Korper112893356C. S. Stearns141037Total700700350350*3536 *454  OPINION.  TRAMMELL: There are two questions for determination in this case.  The first is what was the cost or the basis to be used in the determination of the gain, if any, arising from the exchange of assets by the petitioner for stock in the Gaffey Company.  The second question is what was the fair market value, if any, of the stock received in exchange.  The petitioner contends that the write-up of assets did not represent an arbitrary amount placed upon the books but represented actual values which values had been capitalized and stock dividends issued therefor.  In our opinion, it makes no difference whether the write-up represented actual values or a mere fictitious value.  In any event, it does not affect the question of the tax liability, unless any increase in value occurred before March 1, 1913.  In determining the tax liability the question to be determined here is what was the cost or the fair market value on March 1, 1913, of the assets.  There is no contention in this case that there was any increase in value between the date of acquisition and March 1, 1913, of any assets acquired prior to that time.  No evidence of the March 1, 1913, value was introduced*3537  in this case, nor was there any question raised with respect to the March 1, 1913, value.  This being true, we will accept and approve the determination of the respondent as to the basis to be used in the determination of any gain resulting from the exchange.  The next question is whether the stock of the Gaffey Company had a fair market value at the time it was received by the petitioner.  It was conceded that the stock had an actual value of at least par.  The petitioner before the transfer of its assets to the Gaffey Company, and the Gaffey Company subsequently, had been prosperous and successful.  The only contention in this regard is that the stock of the Gaffey Company being closely held, it did not have a market value.  While this fact may have some effect on the market price or value, we do not think that it is sufficient in and of itself to deprive stock of any market value.  In other words, in determining whether stock has a fair market value, the fact that it is closely held and the fact that none of it sold for cash in the open market, are evidentiary facts to be considered but are not determinative in and of themselves alone as to whether the stock had a market value. *3538  The respondent determined that it did have a market value equal to its par value and we are not convinced from the evidence that this is not true.  On the other hand, the evidence supports that valuation.  Judgment will be entered under Rule 50.